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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    (at Frankfort)

 UNITED STATES OF AMERICA,                     )
                                               )
        Plaintiff,                             )      Criminal Action No. 3: 08-21-DCR
                                               )
 V.                                            )
                                               )
 LEONARD LAWSON, CHARLES                       )
 WILLIAM NIGHBERT, and BRIAN                   )        MEMORANDUM OPINION
 RUSSELL BILLINGS,                             )            AND ORDER
                                               )
        Defendants.                            )

                                     *** *** *** ***

       This matter is before the Court for consideration of the joint motion for reconsideration

filed by the Defendants Leonard Lawson, Charles Nighbert, and Brian Billings (“Defendants”).

[Record No. 224] The Defendants request that the Court reconsider its decision in a December

24, 2008, Memorandum Opinion and Order (“December Order”). [Record No. 179] For the

reasons discussed below, the Court will deny the Defendants’ motion.

       In its December Order, the Court addressed the issue of whether the public availability

of a search warrant affidavit violated the grand jury secrecy requirements contained in Rule 6(e)

of the Federal Rules of Civil Procedure. Finding that no Government agent had violated Rule

6(e), the Court denied the Defendants’ motion to dismiss the indictment and declined to order

production of the grand jury transcripts for the Defendants’ viewing. Additionally, the Court

declined to sanction any of the Government agents involved in the case. However, recognizing

the mere possibility of prejudice to the Defendants absent any Rule 6(e) violation, the Court

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stated that it would review the grand jury transcripts in camera. The Defendants now request

that the Court reconsider its opinion and give the defense counsel access to the grand jury

transcripts.

       Motions for reconsideration, or, motions to alter or amend a judgment, are governed by

Rule 59(e) of the Federal Rules of Civil Procedure. Courts have “considerable discretion” in

ruling on Rule 59(e) motions. Huff v. Metropolitan Life Ins. Co., 675 F.2d 119, 122 (6th Cir.

1982). The Sixth Circuit has consistently ruled that very few grounds support the grant of such

a motion: (1) clear errors of law; (2) newly discovered evidence; (3) intervening changes in

controlling law; or (4) a need to prevent manifest injustice. Henderson v. Walled Lake Consol.

Schs., 469 F.3d 479, 496 (6th Cir. 2006). None of these grounds are implicated by the

Defendants’ motion. The Defendants’ initial argument on reconsideration is that a reduced need

for secrecy entitles the Defendants to production of the grand jury transcript. Second, the

Defendants argue that defense counsel, rather than the Court, is in a better position to determine

what is “prejudicial” to the Defendants. These arguments were most certainly taken into

consideration in the Court’s December Order. They do not represent newly discovered evidence

or changes in the law, nor do they contradict any issues of law determined by this Court.

       Concerning the last ground for Rule 59(e) reconsideration, the Defendants may argue that

production of the grand jury transcript is necessary to prevent manifest injustice; however, after

viewing the transcript in camera, the Court does not agree. The transcript reveals no indication

that the public availability of the search warrant had any prejudicial effect on the Defendants.

The Defendants’ rights in the grand jury proceeding were not compromised and the Court is



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unable to conclude that the grand jury would not have indicted in the absence of publicity

surrounding the affidavit. This determination strikes at the heart of the Defendants’ earlier

motion to dismiss the indictment and the instant motion for reconsideration. Absent such

prejudice, the Defendant has no need to review the grand jury transcript. As a result, the

Defendants have failed to allege any ground necessary to support altering or amending the

Court’s earlier determination. Accordingly, it is hereby

       ORDERED that the Defendants’ motion for reconsideration [Record No. 224] is

DENIED. The grand jury transcripts previously produced for the undersigned’s review shall

be returned to the Assistant United States Attorney assigned to this matter.

       This 26th day of January, 2009.




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